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EXHIBIT A

THE LAW OFFICES OF ROBERT G. ANDROSIGLIO, P.C.
30 Wall Street, 8 Floor, New York, New York 10005
(212) 742-0001 — Fax (212) 742-0005
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DEIDRA HUBAY, ROBERT LOSIENIECKI, _ )
JESSICA DORANTES and ALEXIS )
GABRIELLE HERRICK, ) Civil Action No, 2:19-cv-1327
)
Plaintiffs, )
)
v. ) JURY TRIAL DEMANDED
)
JANELLE MARINA MENDEZ, PAMELA )
HEAL and MILITARY SEXUAL TRAUMA _ )
MOVEMENT, )
)
Defendants. )
COMPLAINT

Plaintiffs, Deidra Hubay, Robert Losieniecki, Jessica Dorantes and Alexis Gabrielle
Herrick, by their undersigned counsel, respectfully sets forth their Complaint for Copyright
Infringement against Defendants, Janelle Marina Mendez, Pamela Heal and Military Sexual

Trauma Movement (the “MSTM” or “Movement”), stating as follows:
INTRODUCTION

1. This dispute arises from the wrongful and intentional actions of the Defendants to
control the Plaintiffs and their property rights. In particular, Defendants have intentionally
copied, published and distributed twenty-six (26) of Plaintiff Losieniecki’s copyrighted
photographs. This infringement has continued despite specific notice of Mr. Losieniecki’s
copyright interests. In addition, and despite specific notice of Plaintiffs’ rights of privacy,

Defendants have intentionally and egregiously used, and continue to use, the likenesses and

 
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names of the Plaintiffs Hubay, Dorantes and Herrick for the benefit of the Defendants and to
place these Plaintiffs in a false light. Plaintiffs’ efforts to rectify these infringements and
misappropriations have been met with threats of both criminal and civil actions — which have
been communicated by Defendants with the purpose and effect of causing emotional distress to
the Plaintiffs. Plaintiffs respectfully seek a full separation from the Defendants and Court-

ordered protection of the Plaintiffs’ property rights.

PARTIES

me Plaintiff Deidra Hubay (“Plaintiff or “Ms. Hubay”) is an individual who resides
at 2399 Rose Garden Road, Pittsburgh, Pennsylvania 15220. Ms. Hubay served in the United
States Marine Corp. (“USMC”), beginning in 2015, as a Single & Multichannel Transmissions
Operator. She left service honorably in 2018 as an E-4, Corporal.

3. Plaintiff Robert Losieniecki (“Plaintiff or “Mr. Losieniecki”) is an individual
who resides at 2399 Rose Garden Road, Pittsburgh, Pennsylvania 15220. Mr. Losieniecki is
married to Ms. Hubay. Mr. Losieniecki served in the USMC, beginning in 2015, as a Radio &
TRC Operator. He left service honorably in 2019 as an E-5, Sergeant, and is still currently a part
of the IRR (inactive reserve).

4. Plaintiff Jessica Dorantes (“Plaintiff’ or “Ms. Dorantes”) is an individual who
resides at 2677 Idlebrook Circle, Midway Park, North Carolina 28544. Ms. Dorantes served in
the USMC, from 2012-2016, as an Aviation Supply Specialist and left service honorably as an E-

4, Corporal. She was associated with the Marines Aviation Logistics Squadron 16 at Miramar.

 
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From October 2016 to the present, Ms. Dorantes is currently part of the inactive reserve as an E-
5, Sergeant.

5. Plaintiff Alexis Gabrielle Herrick (“Plaintiff or “Ms. Herrick”) is an individual
who resides at 8079 Castle Rock Court, Pasadena, Maryland 21122. Ms. Herrick served in the
USMC, 2008 to 2012, as an Intelligence Analyst and left the service honorably as an E-4,
Corporal. She later served in the inactive reserves and left military service completely as an E-5,
Sergeant.

6. Upon information and belief, Defendant Janelle Marina Mendez (“Defendant
Mendez” or “Ms. Mendez”) is an individual who resides at 9K White Gate Drive, Wappingers
Falls, NY 12590. Defendant Mendez is identified as the Chief Executive Officer of Defendant
MSTM.

Vs Upon information and belief, Defendant Pamela Heal (“Defendant Heal” or “Ms.
Heal”) is an individual who resides at 4875 Boulder Way, Temecula, CA 92592. Defendant
Mendez is identified as the Executive Director of Civic Engagement of Defendant MSTM

8. Upon information and belief, Defendant Military Sexual Trauma Movement
(“Defendant” or “MSTM”) is a New York not-for-profit corporation, with a principal office at

9K White Gate Drive, Wappingers Falls, NY 12590 (the residence of Defendant Mendez).
JURISDICTION AND VENUE

9. This action arises under the Copyright Act of 1976, Title 17 U.S.C. §§ 101 et seq.,
and, through diversity jurisdiction, we identified state law claims of breach of privacy,

intentional infliction of emotional distress and declaratory judgment.
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10. This Court has federal question jurisdiction for Plaintiff Losieniecki’s copyright
infringement claims under 28 U.S.C. §§ 1331 and 1338(a). This Court also has diversity and
supplemental jurisdiction over the Plaintiff's state law claims under 28 U.S.C. §§ 1332 and 1367.

11. Venue in this judicial district is proper under 28 U.S.C. §§ 1391 and 1400(a) in
that this is the judicial district in which Defendants can be found and where a substantial part of
the acts and omissions giving rise to the claims occurred in this judicial district. More
specifically, and as set forth more fully below, (a) the Defendants have committed intentional
acts and torts against the Plaintiffs, (b) Plaintiffs Hubay and Losieniecki have felt the brunt of the
harm in this judicial district such that this judicial district is the focal point of the harm suffered
by Plaintiffs Hubay and Losieniecki as a result of the intentional acts and torts committed by
Plaintiffs, and (c) the Defendants expressly aimed their intentional acts and torts at this judicial

district such that this district is the focal point of such acts and torts.
FACTUAL ALLEGATIONS

12. The MSTM is registered as a 501(c)(4) entity that focuses on lobbying elected
officials on all levels of government to enact policies that protect survivors of military sexual
trauma and other discriminatory policies. The stated mission of the MSTM includes protection
of “service members who have experienced Military Sexual Trauma by advocating for the
implementation of the Military Sexual Trauma Victims Bill of Rights,” and advocating “for MST
survivors and all minority veteran groups in need.” Plaintiffs Hubay, Dorantes and Herrick

became associated with the MSTM as unpaid volunteers in July of 2019, and they resigned from

further association with the MSTM on September 14, 2019.
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13. These resignations occurred as a result of events that took place during a
scheduled trip to Washington, DC from September 10-14, 2019 (the “DC Trip”). A copy of the
event schedule from September 12-14 for the DC trip is attached hereto as Exhibit A. Other
volunteers and supporters of the MSTM also resigned following these events.

14. Prior to the DC Trip, Plaintiffs had not met any of the individual Defendants, or
any of the other volunteers or supporters of the MSTM. Meetings among volunteers were
conducted via Facebook Messenger (Video calls) and Google Hangouts using a video call
feature. The DC Trip was the first time that the parties met in person.

15. During the DC Trip, Defendant Mendez “added” to the planned events schedule
by organizing a protest in front of the house of the Commandant of the United States Marine
Corps on September 14, 2019. Plaintiffs Hubay and Dorantes expressed their disagreement with
this planned protest, and other volunteers within the MSTM expressed concern that such a
protest would be “dangerous.” In addition to being an unsafe location, Plaintiffs had concerns
for retaliation insofar as certain volunteers and supporters with the MSTM are either on active
duty in the military or have spouses that are on active duty. Specifically, concern existed as to
the potential for official reprimands and possible loss of health insurance and other benefits.
Further, many of the volunteers with the MSTM that were present for the DC Trip suffer from at
least partial disability due to post traumatic stress disorder (“PTSD”), and the unplanned protest,
together with the events that took place that day, caused significant emotional distress to those
who participated.

16. Nonetheless, Defendant Mendez proceeded with the protest and engaged in

abusive and confrontational conduct at the house of the USMC Commandant.
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17. Plaintiffs Hubay, Dorantes and Herrick resigned later that same day — September
14, 2019 — after this unscheduled protest was completed.

18. In connection with their written resignation, Plaintiffs Hubay, Dorantes and
Herrick each specifically stated to Defendant MSTM and its remaining members, including
Defendants Mendez and Heal, that: “I withdraw my consent for any and all pictures or use of
my name regarding the Movement and I decline consent for further use of my photos or name in
any fashion.”

19. Plaintiff Losieniecki accompanied his wife, Plaintiff Hubay, on the DC Trip in
order to support the volunteer efforts of Ms. Hubay. Plaintiff Losieniecki did not have a
recognized volunteer position with the MSTM. During the trip, Mr. Losieniecki took numerous
photographs for the personal benefit of his wife. In particular, Mr. Losieniecki authored and
took 817 photographs on September 13, 2019 and 556 photographs on September 12, 2019 (the
“Losieniecki Photographs”). Photographs of the DC Trip also were taken by other volunteers
with the MSTM.

20. As described more fully below, several of the Losieniecki Photographs have been
unlawfully copied, published and distributed to third parties by the Defendants without Mr.
Losieniecki’s permission or authorization.

21. More specifically, and upon information and belief, Defendant Mendez, without
permission or authorization from Plaintiff Losieniecki, obtained and downloaded from the SIM
card for Mr. Losieniecki’s camera, at least some portion of the Losieniecki Photographs.
Plaintiffs do not know the extent of this copying. In this respect, Defendant Mendez borrowed

the SIM on the stated premise of wanting to see and review the photographs that had been taken,
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but Defendant Mendez, at no time, asked for permission or authorization to download, copy,
publish or distribute any of the Losieniecki Photographs, and no such permission or authorization
was given by Mr. Losieniecki.

22. Mr. Losieniecki is the sole author of all of the Losieniecki Photographs and of all
the Losieniecki Photographs located on the aforementioned SIM card.

23. Subsequent to the resignation by Plaintiffs Hubay, Dorantes and Herrick, the
Plaintiffs became aware that the Defendants unlawfully were publishing and distributing certain
of the Losieniecki Photographs and, through certain of these photos, unlawfully using the names
and likenesses of certain of the Plaintiffs without permission and to falsely convey that Plaintiffs
Hubay, Dorantes and Herrick continued to have some association with the MSTM. In particular,
twenty-six (26) of the Losieniecki Photographs have been improperly and intentionally copied,
published and distributed to date (the “Published Photographs”). The Published Photographs are

listed in the table below together with identification of the Plaintiffs depicted in certain

 

 

 

 

 

 

 

 

 

 

 

photographs:
TABLE 1

No. Title Publication Date Identified Plaintiffs Exhibit No.
l. IMG_8504 September 14, 2019 Hubay B
2. IMG_8870 September 16, 2019 Hubay; Dorantes Cc
3. IMG _ 859] September 19, 2019 Hubay D
4. IMG 8430 September 19, 2019 Hubay E
5. IMG_8548 September 20, 2019 Hubay F
6. IMG_8586 September 19, 2019 Hubay G
7. IMG_8508 September 19, 2019 Hubay H
8. IMG_8433 September 19, 2019 Hubay I
9. IMG_8804 September 19, 2019 Hubay; Dorantes J

 

 

 

 

 

 
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No. Title Publication Date Identified Plaintiffs Exhibit No.
10. IMG_9017 September 16, 2019 K
11. IMG_8462 September 16, 2019 L,
12. IMG_8888 September 19, 2019 Hubay; Dorantes M
13. IMG_8604 September 20, 2019 N
14. IMG_8536 September 20, 2019 Hubay O
15. IMG_8437 September 20, 2019 P
16. IMG _ 8501 September 20, 2019 Hubay Q
17. IMG_8638 September 20, 2019 R
18. IMG _ 8816 September 20, 2019 Hubay; Dorantes 3
19. IMG_8752 September 20, 2019 Hubay PF
20. IMG_8620 September 20, 2019 Hubay U
21s IMG_8708 September 20, 2019 Vv
22. IMG_8688 September 20, 2019 Hubay W
23. IMG_8645 September 20, 2019 E
24, IMG_8421 September 20, 2019 Y
25, IMG_8907 September 20, 2019 Hubay; Dorantes zZ
26. IMG_8644 September 20, 2019 AA

 

 

24. The Published Photographs have been posted or otherwise published in the
Defendants’ websites and social media sites, which are identified, at least in part, in the table set
forth below, together with the associated Published Photographs and the associated Defendants

who Plaintiffs assert are legally responsible for postings:
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TABLE 2
. . . Published Responsible Exhibit
Published Location Abbreviation Photographs’ Defendants

MSTM Website 8504, 8591, All GGG
https://www.endmst.org/ MSTM-WEB 8708, 8870
(cover slideshow)
Defendant Mendez's 8870, 8591, Mendez, MSTM HHH
personal Instagram > JMM-INSTA- 8508, 8433,
inside the story titled FIGHT 8804
"Fight" @janelle_mendez
Defendant Mendez's 8504, 8870, Mendez, MSTM III
personal Instagram JMM-INSTA 8430, 8548,
@janelle_mendez 8586
Defendant Mendez 8870, 8591, Mendez, MSTM JJJ
political candidate JMM-FB-PC 8430, 8856,
Facebook page 8504
Defendant Mendez 8504, 8870, Mendez, MSTM KKK

ersonal Facebook page Seat a6
person ° | JMM-FB-PER | 8433, 9017,
including her album 8462, 8645

#MSTMTakesDC 864A
MSTM Official Instagram MSTM-INSTA 8604 All LLL
@militarysexualtrauma
MSTM official Instagram 8504, 8870, All MMM
> inside the story titled MSTM- 8591, 8430,
"Washington DC" INSTA-DC 8433, 8508,
@militarysexualtrauma 8586

 

 

' The Exhibits identified with the Published Photo
corresponding copies of these

locations.

graphs in Table 1 also include the
photographs as published by the Defendants in the identified

 

 
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. : er Published Responsible Exhibit
Published Location Abbreviation Pho tographs! Defendants
8591, 8430, All NNN
8548, 8804,
8888, 8604,
Defendant Heal's personal 8536, 8437,
Facebook album titled PH-FB-ALBM 8501, 8638,
"#MSTMTakesDC" 8816, 8620,
8708, 8688,
8645, 8421,
8907, 8508,
MSTM Official Facebook MSTM-FB 8508 All OOO
Page
Defendant Heal's personal 8816 All PPP
Instagram at “#endMST PH-INSTA
story and on regular page
@therealpamelaheal
Defendant Heal's personal 8421 All QQQ
Facebook page outside of
PH-FB-ALBM se
@therealpamelaheal
Defendant Mendez's 8870 Mendez, MSTM RRR
personal Facebook cover | JMM-FB-CVR
photo
Defendant Heal's personal 8888 All SSS
Facebook Cover Photo PEEEVCVR
Email sent by Defendant 8504, 8870, All TIT
Mendez from MSTM with 8804, 8548
noted photographs and MSTM-
asking people to buy EMAIL
tickets for “next year’s
event.”

 

25. In addtion, certain of the Published Photographs were distributed to third parties

or have been republished by third parties from Defendants’ social media sites, as follows: :

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a. Defendant Heal provided IMG_8870 and IMG_ 8508 for use with the
article published at: _ https://connectingvets.radio.com/articles/pamela-heal-military-
sexual-trauma-movement?fbclid=IwAR3-UW2pR_kSXQUoZiNocA-
YPdXCmHCqZK9JNppUxpFeAOSSLdm_L66IJPY (“PH-STORY”) (Exhibit BB

hereto); and

b. Lisa Nolasco, a supporter of the MSTM, re-posted IMG _9017 and
IMG_8462 from Defendant Mendez’s personal Instagram page (“MM-INSTA”) (Exhibit

CC hereto).

26. Further, despite the specific request by the Plaintiffs that the MSTM no longer use

any of their likenesses and names, the Defendants have continued to use prior photographs,

likenesses and signatures of the Plaintiffs to create the false impression that the Plaintiffs remain

associated with the MSTM, as follows:

 

 

 

 

 

 

 

 

TABLE 3
No. Title Published Location Identified Plaintiffs Exhibit No.
1. IMG-01 JMM-INSTA-FIGHT Hubay EE
2. IMG_02 MSTM's Official Twitter Hubay FF
@MSTMovement
3 IMG_03 Defendant Mendez's Personal Hubay GG
Twitter @janelle_marina
4.| McSally Letter MSTM-WEB Hubay; Dorantes HH
EndMST.org/mcesally
5. IMG_04 MSTM-INSTA Dorantes I
6. IMG_05 JMM-INSTA-FIGHT Hubay JJ

 

 

 

 

 

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No. Title Published Location Identified Plaintiffs Exhibit No.
7 VID_2 PH-INSTA Hubay KK2
8. Commandant MSTM-WEB Hubay LL

Request EndMST.org/request_usmc

9. IMG_06 MSTM-INSTA Hubay MM

10. Screenshot of JMM-INSTA-FIGHT Hubay; Dorantes NN
McSally Letter
(use of signatures)

11. VID-03 PH-INSTA Hubay OO
12. IMG_07 MSTM-INSTA Hubay PP
13. TGD_1 JMM-INSTA-FIGHT Hubay QQ
14, IMG_08 MSTM-INSTA / PH-INSTA Hubay RR/OO
15. VID_04 MSTM-INSTA / PH-INSTA Hubay; Dorantes 5S/OO
16. TGD_02 JMM-INSTA-FIGHT Hubay TT
17. IMG_09 JMM-INSTA-FIGHT Hubay UU
18. VID_05 PH-INSTA Hubay; Dorantes VV
19. IMG_10 MSTM-INSTA / PH-STORY Dorantes WW/BB
20. IMG_11 PH-INSTA Hubay; Dorantes XX
21. IMG_12 MSTM-INSTA Hubay YY
22. IMG_13 PH-INSTA Dorantes ZZ
23. IMG_14 MSTM-INSTA Hubay AAA
24, VID_06 PH-INSTA Hubay BBB
25. IMG_16 MSTM-INSTA / MM-INSTA Hubay; Dorantes CCC/CC
26, VID_07 PH-INSTA Dorantes DDD
27. IMG_17 MSTM-INSTA / MM-INSTA Hubay; Dorantes EEE/CC
28. VID_08 PH-INSTA Dorantes FFF

 

 

 

 

 

 

The attached Exhibits for VID_2 — VID_8 show a screen shot of the initial frame show in the
the respective video; the likeness and/or name of the Identified Plaintiffs are shown in the video.

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27. In addition, the Defendants also possess other photographs, videos, images,
likenesses and signatures of the Plaintiffs, and the Defendants do not have any permission or
authorization to use of any these likenesses or names in association with the MSTM.

28. At no time did Mr. Losieniecki give any permission, authorization or approval to
the Defendants to copy, publish or distribute his photographs in any manner. No written
agreement exists whereby Mr. Losieniecki transferred his copyright interests in the photographs
to the MSTM or any of the Defendants. Likewise, no written agreement exists whereby Mr.
Losieniecki granted any license in his copyright interests in the photographs to any of the
Defendants.

29. When Mr. Losieniecki first saw, on September 16, 2019, that Defendants posted
one of his photos (IMG_8870), he commented within two (2) hours of the post that he owned the
rights to the photograph and that he requested removal.

30. Similarly, Plaintiffs Hubay, Dorantes and Herrick have at no time signed any
written agreement providing the Defendants with the right to use any of their names and
likenesses from any source. To the extent that such permission might be implied or inferred as
an indefinite oral consent during the association of these Plaintiffs with the MSTM, Plaintiffs
Hubay, Dorantes and Herrick and exercised their rights to terminate any such implied consent at
will and specifically informed the Defendants, after the Plaintiffs’ resignation from the MSTM,
that the Defendants had and have no rights to use the names and likenesses of the Plaintiffs.

31. The Plaintiffs confirmed the lack of any rights by the Defendants to Mr.
Losieniecki’s copyrights and/or to the names and likenesses of Plaintiffs Hubay, Dorantes and

Herrick by posting comments on the Defendants’ social media sites where the Published

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Photographs and the associated names and likenesses of Plaintiffs Hubay, Dorantes and Herrick
were being posted without permission.

32. In response to the notices by Plaintiffs as to the Defendants’ lack of rights and
authorization to use the Losieniecki Photographs and/or the names and likenesses of Plaintiffs
Hubay, Dorantes and Herrick, the Defendants responded by (i) deleting the posts of the
Plaintiffs, and (ii) sending several communications to the Plaintiffs asserting that permission and
authorization somehow had been provided and, further, that the Plaintiffs’ postings as to the lack
of rights on the part of the Defendants were libelous and slanderous.

33. In addition, in communications directed to the Plaintiffs in their home states,
Defendants, in letters and emails authored primarily by Defendant Mendez and a statement from
Defendant Heal, have threatened both civil and criminal legal action for, inter alia, alleged
defamation, interference with contractual relations, violations of an incomplete and unsigned
“Employee/Volunteer Policy Handbook” and misappropriation of confidential and personally
identifiable information.

34, Further, Defendants have conveyed shifting, inconsistent, and perjurious “stories”
as to how their wrongful conduct was and is somehow justified based, inter alia, on false
statements and unsigned documents.

35. At the same time, and even after a communication from counsel for the Plaintiffs
explaining and outlining the copyright interests of Mr. Losieniecki and the rights of privacy of all
Plaintiffs, Defendants have taken no action to take down their postings of Mr. Losieniecki’s
Published Photographs. Likewise, the Defendants have taken no action to take down or stop

their use of the names and likenesses of Plaintiffs Hubay, Dorantes and Herrick.

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36. Indeed, in addition to continued posting and posting of Mr. Losieniecki’s
Published Photographs, Defendants continue to make reference to Plaintiffs Hubay, Dorantes
and Herrick, through the MSTM website and other social media postings, in a manner to convey
that these Plaintiffs are still associated with the MSTM.

37. Defendants’ wrongful conduct toward Plaintiffs has been intentional and
egregious. Defendants have received and ignored numerous written communications asserting
Mr. Losieniecki’s sole ownership of and copyright interests in the Losieniecki Photographs and
the Plaintiffs’ rights of privacy. Further, Defendants have been specifically informed that they
should NOT make any use of the likenesses or names of the Plaintiffs in connection with the
MSTM. The Defendants’ response has been threatened legal action and, in the view of the
Plaintiffs, bully and extortion tactics specifically intended to cause emotional distress.

38. Plaintiffs during their association with the Movement that Defendant Mendez
specifically recruited volunteers who are considered full or partially disabled by the Veterans
Administration (“VA”) — because she could leverage the status of disabled women veterans in
pursuing grant money from the United States. In this context, Plaintiffs have all been rated as
fully or partially disabled by the VA, including diagnoses of PTSD for Plaintiffs Hubay,
Dorantes and Herrick. Defendant Mendez sought full disclosure from the Plaintiffs as to the
nature of their disabilities and, along with other members of the MSTM, including Defendant
Heal, possesses detailed knowledge of Plaintiff's disabilities and emotional states.

39. In addition, Plaintiff Losieniecki also is rated with a depressive disorder

disability, including anxiety, from the VA, and Defendants were and are aware of this disability.

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40. Defendant Mendez, in particular, has used this knowledge, together with her
position of authority within the MSTM to direct threats toward the Plaintiffs with the specific
intention of causing anxiety and emotional distress and in order for Defendant Mendez to remain
in control of the MSTM and potential funding for same. As detailed more fully below, Plaintiffs
have, in fact, suffered emotional distress as a direct and proximate result of the Defendants’
action.

41. The focal point of the harm suffered by the Plaintiffs is predominantly in this
judicial district. In particular:

a. Copyright infringement is particularly personal to the author of the
copyrighted works. Mr. Losieniecki lives is in this judicial district, and the Defendants
have expressly aimed their unauthorized acts of copyright infringement at this judicial
district such that this Judicial district is the focal point of all of the alleged copyright
infringement activity.

b. Defendants have directed numerous communications to Plaintiff Hubay
within this judicial district — again threatening both civil and criminal actions as a result
of her resignation and subsequent efforts to protect her name and likeness. The actions of
the Defendants in this respect have included review of Plaintiff Hubay’s own social
media and a “stalking” of her activities with other organizations.

c. Defendants’ invasion of the Plaintiffs’ rights of privacy have been directed
toward their respective home States, with Plaintiff Hubay having the most significant

Presence on the photographs, other images and signatures that the Defendants continue to

use in association with the MSTM.

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d. Defendants’ intentional infliction of emotional distress also has been
knowingly directed to where the Plaintiffs reside.

42. Defendants Mendez and Heal are individually liable for the wrongful and
intentional acts set forth in the Counts below because they have, without permission oF
authorization: (a) copied and posted the Published Photographs on their personal social media
sites, and (b) used the likenesses and names of Plaintiffs Hubay, Dorantes and Herrick on the
personal social media sites of Defendants Mendez and Heal. Defendants Mendez and Heal also

are personally liable for participating in all tortious conduct by MSTM.

COUNT I

Copyright Infringement

43. The preceding paragraphs of the Complaint are hereby incorporated by reference
as though the same were fully set forth herein.

44, The Losieniecki Photographs were a creation of Plaintiff Losieniecki, and the
Losieniecki Photographs are, and at all relevant times were, owned exclusively by Plaintiff.

45. Plaintiff Losieniecki applied for a United States Copyright Registration covering
the Published Photographs within thirty (30) days of learning of Defendants’ infringement of one
of the Published Photographs, and he received U.S. Copyright Registration No. VA0002173194
with a Group Title of “DC 2019” (Exhibit DD hereto).

46. Defendant had misappropriated the Published Photographs by direct copying,

publication and distribution as set above in Paragraphs 23-25 and shown in Tables 1 and 2 and

the associated Exhibits to this Complaint.

 
 

  
 

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47. Defendants had access to the Published Photographs as described above in
Paragraph 21, and Defendant Mendez’s surreptitiously copied at least some portion of the
photographs contained in the SIM card to Plaintiff Losieniecki’s camera.

48. Defendant infringed Plaintiff Losieniecki’s copyright by displaying the Published
Photographs in the manner identified in Paragraphs 23-25 of this Complaint without Plaintiff
Losieniecki’s authorization and continuing to display the Published Photographs subsequent to
receiving notice of his rights in and to the Subject Photograph.

49. Defendants have committed copyright infringement with actual or constructive
knowledge of Plaintiff's rights, and/or in blatant disregard for Plaintiff Losieniecki’s rights, such
that said acts of copyright infringement were, and continue to be, willful, intentional and
malicious, subjecting Defendants to liability for statutory damages under Section 504(c)(2) of the
Copyright Act in the sum of up to one hundred fifty thousand dollars ($150,000.00) per
infringement (that is, per each of the Published Photographs at a minimum).

50. Defendant infringed Plaintiff Losieniecki’s copyright by displaying the Subject
Photograph on the Subject Website without Plaintiff Losieniecki’s authorization and subsequent
to receiving notice of Plaintiff's rights in and to the Subject Photograph.

51. Due to Defendants’ acts of infringement, Plaintiff Losieniecki has suffered
substantial damages in an amount to be established at trial.

52. Due to Defendants’ acts of infringement, Plaintiff Losieniecki has suffered

general and special damages in an amount to be established at trial.

53. Due to Defendants’ acts of copyright infringement

as alleged herein, Defendant

has obtained direct and indire

ct fundraising and other financial benefits and profits they would

 
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not otherwise have realized but for their infringement of the Published Photographs. As such, |

Plaintiff Losieniecki is entitled to disgorgement of Defendant’s profits and/or financial benefits

directly and indirectly attributable to Defendants’ infringement of the Published Photographs in

 

an amount to be established at trial,

54. Defendant has committed acts of copyright infringement, as alleged above, which
were and are willful, intentional and malicious, which further subjects Defendants to liability for|
statutory damages under Section 504(c)(2) of the Copyright Act in the sum of up to one hundred
fifty thousand dollars ($150,000.00) per infringement per individual photograph. Within the
time permitted by law, Plaintiff Losieniecki will make his election between actual damages and

statutory damages.

COUNT II

Invasion of Privacy — Misappropriation of Name and Likeness

Plaintiffs Hubay and Dorantes vs. All Defendants

55. The preceding paragraphs of the Complaint are hereby incorporated by referenc
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as though the same were fully set forth herein.

56. Defendants have misappropriated for their Own use or personal benefit the na
and/or likeness of Plaintiffs Hubay and Dorantes as set forth in Paragraphs 23-25 above and
shown in Tables 1 and 3 and the associated Exhibits to the Complaint.

57. Defendants have misappropriated the names and/or likeness of name and/
likeness of Plaintiffs Hubay and Dorantes without their authorization and subsequent to receivit

notice of Plaintiff's rights in and to the Subject Photograph.

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58. Due to Defendants’ acts of misappropriation, Plaintiffs Hubay and Dorantes have

suffered substantial damages in an amount to be established at trial. |

59. Due to Defendants’ acts of misappropriation, Plaintiffs Hubay and Dorantes have

suffered general and special damages in an amount to be established at trial. |

60. Defendants’ acts of misappropriation were and are intentional, malicious and

outrageous to justify an award of punitive damages.

COUNT II

Invasion of Privacy — False Light

Plaintiffs Hubay, Dorantes and Losieniecki ys. All Defendants

61. The preceding paragraphs of the Complaint are hereby incorporated by reference

as though the same were fully set forth herein.

62. Defendants have invaded the privacy of Plaintiffs Hubay, Dorantes an
Losieniecki and placed them in a false light by continuing to use their likenesses, images an
names in association with the MST, as set forth more fully in Paragraphs 26-28 and as sho
in Tables 1 and 3 and the associated Exhibits to the Complaint. More directly, Defendants ar
falsely conveying this continued association to the public.

63. The false light in which Plaintiffs Hubay, Dorantes and Losieniecki were and are|
placed is highly offensive to a reasonable person as these Plaintiffs are conveyed as being
associated with the protest that took place on September 14 and the other offensive actions of the
Defendants.

64. Defendant had knowledge of or acted in reckless disregard as to the falsity of the

publicized matter and the false light in which the Plaintiffs would be placed.

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65. Due to Defendants’ acts of misappropriation, Plaintiffs Hubay, Dorantes and
Losieniecki have suffered substantial damages in an amount to be established at trial.

66. Due to Defendants’ acts of misappropriation, Plaintiffs Hubay, Dorantes and
Losieniecki have suffered general and special damages in an amount to be established at trial.

67. Defendants’ acts of misappropriation were and are intentional, malicious and

outrageous to justify an award of punitive damages.

COUNT IV

Declaratory Judgment
All Plaintiffs vs. All Defendants

68. The preceding paragraphs of the Complaint are hereby incorporated by reference
as though the same were fully set forth herein.

69. Defendants have asserted and continue to assert that they own and/or have rights
to use and publish the Losieniecki Photographs and the names and likenesses of the Plaintiffs.

70. ‘Plaintiffs deny that Defendants possess any such, and a justiciable case and
controversy exists between the parties.

71. Plaintiffs respectfully request a declaratory judgment that Defendants do not own
and/or have any rights to use and publish the Losieniecki Photographs and the names and
likenesses of the Plaintiffs.

72. Plaintiffs further respectfully request that this Court enter an Order directing the
Defendants to delete from any websites or social media and otherwise destroy and/or return all
versions of the Losieniecki Photographs and the names, signatures (electronic or otherwise),

images, videos, photographs and likenesses of the Plaintiffs.

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73. Due to Defendants’ acts of infringement and misappropriation, Plaintiffs Hubay,
Dorantes and Losieniecki have suffered substantial damages in an amount to be established at
trial.

74. Due to Defendants’ acts of infringement and misappropriation, Plaintiffs Hubay,
Dorantes and Losieniecki have suffered general and special damages in an amount to be
established at trial.

75. Defendants’ acts of infringement and misappropriation were and are intentional,

malicious and outrageous to justify an award of punitive damages.

COUNT IV

Intentional Infliction of Emotional Distress

 

All Plaintiffs vs. All Defendants

76. The preceding paragraphs of the Complaint are hereby incorporated by reference
as though the same were fully set forth herein.

77. Defendants’ continuing actions in threatening Plaintiffs with criminal and civil
liability because of Plaintiffs’ assertion of their respective copyrights interests and rights of
privacy were committed intentionally and recklessly and Defendants’ related actions and
communications are extreme and outrageous.

78. In particular, Defendants knew of Plaintiffs’ disabilities, including PTSD, and
related vulnerabilities, and Defendants knowingly have sought to prey upon these vulnerabilities

through a continuing pattern of conduct. F urther, Defendant Mendez was in a position of power

with respect to Plaintiffs Hubay, Dorantes and Herrick.

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79. Plaintiffs have suffered emotional distress as a direct and proximate result of
Defendants’ actions, and Defendants’ actions are the direct cause of such distress.

80. Plaintiffs’ distress is evidenced by, inter alia, (i) negative impacts on the ability of
the Plaintiffs to function at home, work and school, (ii) anxiety, (iii) depression, (iv) inability to
focus and concentrate, (v) inability to sleep and/or eat, and (vi) and disassociation from reality

81. Due to Defendants’ wrongful acts, Plaintiffs have suffered substantial damages in
an amount to be established at trial.

82. Due to Defendants’ wrongful acts, Plaintiffs have suffered general and special
damages in an amount to be established at trial.

83. Defendants’ wrongful acts were and are intentional, malicious and outrageous to

justify an award of punitive damages.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment as follows:

a. That Defendants, their agents and employees be enjoined from infringing Plaintiff
Losieniecki’s copyrights in any manner, specifically those for the Published Photographs;

b. That Plaintiff Losieniecki be awarded all profits of Defendants plus all losses of
Plaintiff, plus any other monetary advantage gained by the Defendants through their
infringement, the exact sum to be proven at the time of trial, or, if elected before final judgment,
statutory damages as available under the Copyright Act, 17 U.S.C. §§ 101, ef seg. for each
separate infringement of each photograph of the Published Photographs;

ce That Plaintiff Losieniecki be awarded its attorneys’ fees as available under the

Copyright Act, 17 U.S.C. §§ 101, et seg.;

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d. That Defendants account to Plaintiff Losieniecki for its profits and any damages
sustained by Plaintiff Losieniecki arising from the foregoing acts of infringement:

ei That the Plaintiffs be awarded compensatory damages against the Defendants
jointly and severally in such amount as shall be determined at trial that Plaintiffs have sustained

as a consequence of Defendants’ other wrongful conduct;

fr, That the Plaintiffs be awarded punitive damages against Defendants jointly and
severally;
g. That a declaratory judgment be awarded that Defendants do not own and/or have

any rights to use and publish the Losieniecki Photographs and the names and likenesses of the
Plaintiffs;

h. That an Order be entered directing the Defendants to delete from any websites or
social media and otherwise destroy and/or return all versions of the Losieniecki Photographs and
the names, signatures (electronic or otherwise), images, videos, photographs and likenesses of
the Plaintiffs;

I. That Plaintiffs be awarded the costs of this action; and

j. That Plaintiffs be awarded such further legal and equitable relief as the Court

deems proper.

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A JURY TRIAL IS DEMANDED

Date: October 16, 2019

By:

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Respectfully submitted,
MEYER, UNKOVIC & SCOTT LLP
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ATTORNEYS FOR PLAINTIFFS
